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 From: William Quinn
 Sent: Thursday, September 7, 2023 11:27 AM
 To: Richard Mast
 Cc: D. Yerushalmi
 Subject: Re: Production of Documents - Quinn/USCCB

 Dear Mr. Mast,

   The USCCB’s scope of work for the Department of State at Fort Pickett in 2021 did not include
 representative legal services. The services that might be categorized as “legal assistance” were
 limited to helping migrants access legal representation, but USCCB employees and contractors
 were not authorized to provide direct legal representation as part of their work for the USCCB.

  It is our understanding that Martha Jenkins, an attorney, and Carolina Velazquez, a social
 worker, were providing social work support to the Doe family under the USCCB’s contract with
 the Department of State in 2021. If Ms. Jenkins and the Doe family did form an attorney-client
 relationship outside of her work for the USCCB, she did not inform anyone at the USCCB of that
 relationship, nor did she indicate that any document she provided to Ms. Velazquez or USCCB
 staff was subject to privilege. Ms. Jenkins and Ms. Velazquez are the only custodians who
 maintained documents relevant to the subpoena.

  We therefore have no reason to believe that any documents produced in response to the
 subpoena are subject to an attorney-client or work-product privilege.

 Best regards,
 Will

             William Quinn I General Counsel
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